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 3 Telephone: (916) 447-9299
     John@Balazslaw.com
 4
     Attorney for Defendant
 5 Sarah Marshall
 6
 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12 UNITED STATES OF AMERICA,       )            No. 11-cr-365-GEB
                                   )
13                   Plaintiff,    )            STIPULATION AND ORDER
                                   )            TO CONTINUE MOTION
14       v.                        )            HEARING AND MODIFY
                                   )            BRIEFING SCHEDULE
15 Aguilar-Madriz et al,           )
                                   )
16                   Defendant.    )            Date: April 27, 2012
   _______________________________ )            Time: 9:00 a.m.
17                                              Hon. Garland E. Burrell, Jr.
18
19         Defendant, Sarah Marshall, by and through her undersigned counsel and the
20 United States, by and through it’s undersigned counsel, jointly stipulate and
21 request that the motion hearing date currently set for April 13, 2012 at 9:00 am be
22 vacated and continued to April 27, 2012 at 9:00 am. The parties further stipulate
23 and request that the due dates for filing an opposition and reply currently set for
24 March 30, 2012 and April 6, 2012, respectively, be vacated and continued to April
25 13, 2012 and April 20, 2012.
26         The parties are engaged in plea negotiations and need additional time to
27 attempt to settle the matter.
28
           Case 2:11-cr-00365-GEB Document 113 Filed 03/30/12 Page 2 of 2


 1                                         Respectfully submitted,
 2
 3 DATE: March 28, 2012                    /s/ John Balazs
                                           JOHN BALAZS
 4                                         Attorney for Defendant
                                           SARAH MARSHAL
 5
 6
     DATE: March 28, 2012                  BENJAMIN B. WAGNER
 7                                         United States Attorney
 8
                                           /s/Daniel McConkie
 9                                         DANIEL McCONKIE
                                           Assistant U.S. Attorney
10
11
12                                       ORDER
13        IT IS SO ORDERED. The Motion Hearing, as to defendant Marshall, that
14 is currently set for April 13, 2012 at 9:00 am is vacated and continued to April 27,
15 2012 at 9:00. It is further ordered that the due dates to file an opposition and reply
16 are continued to April 13, 2012 and April 20, 2012 respectively.
17
     Dated: March 29, 2012
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20                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
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